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BRENDA K. chKs ) /Di-" titale
)
Plaintiff, )
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Vs. ) Civil Action No: 04-2949-DV

)
FEDERAL EXPRESS )
Defendant. )

 

PROPOSED ORDER GRANT|NG DEFENDANT FEDERAL EXPRESS
CORPORAT|ON’S MOT|ON TO EXTEND CERTAIN DEADL|NES lN THE
SCHEDUL|NG ORDER

WHEREAS Defendant, Federal Express Corporation (“FedEx"), has filed a
|Vlotion to Extend Certain Dead|ines in the Schedu|ing Order and incorporated

Memorandum in Support Thereof, this Court grants Defendant’s motion.

WHEREFORE, Defendant’s motion is hereby GRANTED and the Court
hereby extends the current deadline of August 5, 2005 for the filing of pretrial

motions, to and including August 26, 2005.

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Kathy L. Laizure

FEDEX CORPORATION- Hacks Cross
3620 Hacks Cross Rd.

Third Floor, Building B.

Memphis7 TN 38125--880

Brenda K. Hicks
4450 White Sands
Memphis7 TN 38118

Honorable Bernice Donald
US DISTRICT COURT

